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                                       October 11, 2018

    UNITED STATES DEPARTMENT OF COMMERCE - INTERNATIONAL TRADE
     ADMINISTRATION – AMENDED INDEX TO ADMINISTRATIVE RECORD
                CASE NUMBER C-201-846 – Sugar from Mexico

                                     *Contains Data files*

             * Public Document * Public Document * Public Document
                                                      Pertaining To
            Filed Date-                               (collective
            Time             Title                    entity)           Bar Code     Type
1 Public      12/22/2014     Susp Agreement              Interested                  FR_Notice_
                                                                        3248540-01
Document          9:15       Notice                        Parties                   Unpublished
                                                          All APO
              12/29/2014
2 Public                                                Authorized      3249571-01       APO
                12:21
Document                     APO                         Applicants
                                                          Mexican
              12/29/2014                                                             FR_Notice_
3 Public                     Susp Agreement           Producers/Expo    3249576-01
                12:24                                                                 Published
Document                     Notice                         rters
4 Public      12/30/2014     Susp Agreement               Mexican                     Customs_
                                                                        3249869-01
Document        15:46        Instructions                Exporters                   Instructions
5 Public    1/9/2015 15:53   EOA & APO                       Batory     3251541-01       APO
Document                     Application
6 Public    1/9/2015 17:25   EOA & APO                       GOM        3251589-01       APO
Document                     Application
7 Public      1/13/2015      EOA & APO                    Petitioners   3252263-01       APO
Document        11:49        Application
8 Public      1/15/2015      EOA & APO                       Camara     3252878-01       APO
Document        16:44        Application
9 Public      1/22/2015      EOA & APO                       Camara     3254818-01       APO
Document        15:05        Application
10 Public
             2/3/15 13:59    Entry of Appearance       Imperial Sugar   3257307-01       Letter
Document
11 Public   2/3/2015 14:03                             Imperial Sugar   3257309-01       APO
Document                     APO Application
12 Public     7/24/2015      Memo of                         USDA       3293504-01       Memo
Document        16:02        Understanding
13 Public     7/29/2015      Amended APO                     Batory     3294731-01       APO
Document        15:08        Application
14 Public     8/26/2015      Amended APO                  Petitioners   3300602-01       APO
Document        13:54        Application
15 Public   9/3/2015 10:08   Amended APO                     Batory     3302019-01       APO
Document                     Application

                                              1
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16 Public    11/12/2015      Amended APO               Petitioners     3416438-01       APO
Document       11:22         Application
17 Public   12/3/2015 9:54   Amended APO              Batory Foods     3422108-01       APO
Document                     Application
18 Public    12/18/2015      Amended APO                Camara         3426990-01       APO
Document       11:07         Application
19 Public     2/10/2016      Amended APO              Govt Mexico      3440721-01       APO
Document        13:18        Application
20 Public     2/11/2016      EOA & APO                  Camara         3441494-01       APO
Document        16:47        Application
21 Public     2/12/2016      Amended APO               Petitioners     3441738-01       APO
Document        12:27        Application
22 Public     2/18/2016      Amended EOA &              Camara         3443177-01       APO
Document        16:35        APO Application
23 Public     2/23/2016      Amended APO                Camara         3444195-01       APO
Document        15:29        Application
24 Public     4/12/2016
                                                       Zucarmex        3458621-01       APO
Document        16:10        APO Application
25 Public     4/13/2016      Amended EOA &              Camara         3458819-01       APO
Document        13:22        APO Application
26 Public     4/26/2016                                                             Entry_of_
                                                          CSC          3463545-01
Document        10:51        Entry of Appearance                                    Appearance

                             USDA Request for
27 Public   5/17/2016 8:45   Increase in Mexican         USDA          3469402-01       Letter
Document                     Sugar Export Limit
28 Public     5/18/2016                                Interested
                                                                       3470199-01       Memo
Document        14:50        Export Limit Increase       Parties
29 Public                                                                           Entry_of_
            6/3/2016 15:44                                SUA          3475592-01
Document                     Entry of Appearance                                    Appearance
30 Public     6/27/2016      Amended APO              Govt Mexico      3482054-01       APO
Document        16:20        Application
31 Public     6/28/2016      Change of Legal         Government of
                                                                       3482315-01       Letter
Document        16:34        Counsel                    Mexico
32 Public     6/30/2016      Amended APO              Govt Mexico      3483135-01       APO
Document        14:55        Application
33 Public     6/30/2016      Amended APO              Govt Mexico      3483143-01       APO
Document        15:00        Application
                                                       American
              7/21/2016                              Sugar Coalition
                                                                       3489862-01       APO
34 Public       15:51        Request to Amend            and its
Document                     APO                        members
35 Public     7/28/2016      Amended APO              Govt Mexico      3491288-01       APO
Document        11:43        Application

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36 Public     7/28/2016                                Interested
                                                                      3491411-01       Memo
Document        14:26        Calc of Export Limit        Parties
37 Public   8/4/2016 15:33   Removal of Coalition        ASC          3494950-01       Letter
Document                     Member
38 Public     9/21/2016      September Export        Govt Mexico      3507888-01       Letter
Document        10:27        Limit Calc Memo
39 Public     10/7/2016                                                            Entry_of_
                                                     Pullman Sugar    3512713-01
Document        15:17        Entry of Appearance                                   Appearance
40 Public    11/18/2016      Comments on               Zucarmex       3523660-01       Letter
Document        7:37         Proposals
                             Calculation of
             12/16/2016                                Interested
41 Public                    December Export                          3530245-01       Letter
               14:42                                     Parties
Document                     Limit
42 Public     1/11/2017      Transmits Previously        SUA          3535893-01       Letter
Document        16:52        Submitted Letters
43 Public     1/11/2017
                                                         SUA          3535893-02       Letter
Document        16:52        4/29/16 Letter
44 Public     1/11/2017
                                                         SUA          3535893-03       Letter
Document        16:52        6/9/16 Letter
45 Public     1/11/2017
                                                         SUA          3535893-04       Letter
Document        16:52        9/19/16 Letter
                             Reply to 12/5/16
              1/12/2017
46 Public                    Imperial Sugar             Camara        3536016-01       Letter
                13:51
Document                     Submission
47 Public     1/12/2017      Placing Documents on    Imperial Sugar   3536110-01       Letter
Document        15:21        the Public Record
48 Public     1/18/2017      Congressional Letters     Interested
                                                                      3537612-01       Memo
Document        14:02        and Responses               Parties
49 Public     1/18/2017      Company Letters and       Interested
                                                                      3537622-01       Memo
Document        14:26        Responses                   Parties
50 Public     1/18/2017      Responses to Letters      Interested
                                                                      3537634-01       Memo
Document        14:32        on Record                   Parties
51 Public     1/19/2017      Amended APO              Petitioners     3537918-01       APO
Document        13:50        Application
52 Public     1/30/2017      Amended APO              Petitioners     3539780-01       APO
Document        14:53        Application

              2/27/2017      Entry of
53 Public                    Appearance/APO              GOM          3546588-01       APO
                14:40
Document                     Application
54 Public                    Amended APO             Batory, Batory
            3/3/2017 16:03                                            3548647-01       APO
Document                     Application              de Mexico
55 Public     3/10/2017                                                            Entry_of_
                                                     Pullman Sugar    3550153-01
Document        12:52        Entry of Appearance                                   Appearance

                                                3
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56 Public     3/13/2017      March Export              All Interested
                                                                        3551012-01       Memo
Document        16:58        Calculation for April 1      Parties
57 Public     3/24/2017      Amended APO                Petitioners     3554853-01       APO
Document        15:17        Application
58 Public   4/4/2017 17:21   Meeting with                  GOM          3560055-01       Memo
Document                     Secretary Wilbur Ross
59 Public                    DOC Intent to               Gov't of
            5/1/2017 19:35                                              3567612-01       Letter
Document                     Terminate CVD SA            Mexico
60 Public     5/31/2017      Amended APO                   ASC          3576846-01       APO
Document        14:55        Application
61 Public   6/2/2017 10:42                                Camara        3577523-01       APO
Document                     APO Removal
62 Public   6/2/2017 17:09   Req Terminate Susp            ASC          3577978-01       Letter
Document                     Agreements - Part 1
63 Public   6/2/2017 17:09   Req Terminate Susp            ASC          3577978-02       Letter
Document                     Agreements - Part 2
64 Public   6/2/2017 17:09   Req Terminate Susp            ASC          3577978-03       Letter
Document                     Agreements - Part 3
65 Public   6/2/2017 17:09   Req Terminate Susp            ASC          3577978-04       Letter
Document                     Agreements - Part 4
66 Public   6/2/2017 17:09   Req Terminate Susp            ASC          3577978-05       Letter
Document                     Agreements - Part 5
67 Public   6/2/2017 17:12   Req Terminate Susp            ASC          3577978-06       Letter
Document                     Agreements - Part 6
68 Public   6/5/2017 23:45   Letter re Susp                GOM          3578485-01       Letter
Document                     Agreement
69 Public   6/7/2017 6:25                              Govt Mexico      3578795-01       Letter
Document                     Letter on Agreement
70 Public   6/7/2017 15:41   Amended APO               Govt Mexico      3579031-01       APO
Document                     Application

              6/14/2017      Letter to Invite           Interested
71 Public                    Comment CVD                                3581206-01       Letter
                16:37                                     Parties
Document                     Amendment 061417
72 Public     6/17/2017      Cmt Deadlines -Cover       Interested
                                                                        3582390-01       Memo
Document        11:24        Memo - Pt. 1                 Parties
73 Public     6/17/2017      Stautory Draft             Interested
                                                                        3582390-02       Memo
Document        11:24        Memorandum - Pt. 2           Parties
74 Public     6/19/2017      Comments Placed on         Petitioners     3582604-01       Letter
Document        15:12        Record
75 Public     6/20/2017      Comments on SA                ISTC         3582909-01       Letter
Document        10:34        Amendments



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76 Public     6/21/2017
                                                      SUA          3583328-01       Memo
Document        12:59     Ex Parte Memo
                          Comments on
              6/21/2017
77 Public                 Proposed                    ASIA         3583346-01   Response
                13:41
Document                  Amendments
                          Comments on
              6/21/2017
78 Public                 Proposed                 CSC Sugar       3583412-01       Letter
                14:56
Document                  Amendments
                          Comments on
              6/21/2017
79 Public                 Proposed                    CRA          3583431-01       Letter
                15:10
Document                  Amendments
                          Comments on
              6/21/2017
80 Public                 Proposed                    OTA          3583468-01       Letter
                15:43
Document                  Amendments
                          Comments on
              6/21/2017                           Archer Daniels
81 Public                 Proposed                                 3583477-01       Letter
                15:53                                Midland
Document                  Amendments
                          Comments on
              6/21/2017
82 Public                 Proposed                    ASC          3583547-01       Letter
                16:17
Document                  Amendments
                          Comments on
              6/21/2017
83 Public                 Proposed                Imperial Sugar   3583621-01       Letter
                16:54
Document                  Amendments
                          Comments on
              6/21/2017
84 Public                 Suspension                  GOC          3583627-01       Letter
                16:59
Document                  Agreement
                          Comments on
              6/21/2017
85 Public                 Proposed                    SUA          3583631-01       Letter
                17:08
Document                  Amendments
                                                   Barbados,
                                                     Belize,
              6/23/2017                            Dominican
                                                                   3584301-01       Letter
                12:39     Comments on              Republic,
86 Public                 Suspension                Guyana,
Document                  Agreements                Jamaica
                          Rebuttal Comments re
              6/26/2017
87 Public                 Proposed                   Camara        3584993-01       Letter
                14:00
Document                  Amendments
88 Public     6/26/2017
                                                      ASC          3585133-01       Letter
Document        15:24     Rebuttal Comments
89 Public     6/26/2017
                                                  Govt Mexico      3585174-01       Letter
Document        15:39     Rebuttal Comments
                          Rebuttal Comments on    Zucarmex SA
              6/26/2017
90 Public                 Draft Agreement          and Zucrum      3585197-01       Letter
                16:05
Document                  Amendments                  Foods
91 Public     6/30/2017   Placing Press Release     Interested
                                                                   3587223-01       Memo
Document        11:12     on Record                   Parties



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                              Comments on
               6/30/2017
92 Public                     Suspension                CBI Countries   3587315-01       Letter
                 12:35
Document                      Agreements
93 Public      6/30/2017                                  Interested                 FR_Notice_
                                                                        3587888-01
Document         18:17        Amendment                     Parties                  Unpublished
94 Public      6/30/2017      Text of CVD                 Interested
                                                                        3587890-01       Memo
Document         18:22        Amendment                     Parties
95 Public      7/14/2017      Amendment to Susp.          Interested                 FR_Notice_
                                                                        3593490-01
Document         15:17        Agreement                     Parties                   Published
96 Public    8/3/2017 13:14   Amended APO               Govt Mexico     3604042-01       APO
Document                      Application
97 Public    8/4/2017 16:50   Amended APO                  Batory       3604637-01       APO
Document                      Application
98 Public    8/4/2017 16:54   Amended APO                  Batory       3604644-01       APO
Document                      Application
99 Public                                                 Interested                  Customs_
             8/7/2017 18:50                                             3605220-01
Document                      Customs Instructions          Parties                  Instructions
100 Public                    CVD Comments                Interested
             8/7/2017 18:50                                             3605221-01       Memo
Document                      Memo - Part 1                 Parties
101 Public                    CVD Comments                Interested
             8/7/2017 18:50                                             3605221-02       Memo
Document                      Memo - Part 2                 Parties
102 Public                    Corrected Customs           Interested                  Customs_
             8/7/2017 18:51                                             3605223-01
Document                      Instructions                  Parties                  Instructions
103 Public                                                Interested
             8/7/2017 18:53                                             3605224-01       Memo
Document                      CVD Statutory Memo            Parties
104 Public                    CBP Info Placed on          Interested
             9/8/2017 16:44                                             3617800-01       Memo
Document                      Record                        Parties
105 Public    10/30/2017      Congressional Letters       Interested
                                                                        3634865-01       Memo
Document        17:37         for the Record                Parties
                              Log of Ex Parte
                                                          Interested
              9/24/18 5:54    Meetings, Phone Calls
                                                            Parties     3756517-01       Memo
106 Public                    & E-Mail
Document                      Communications
                              Updated Log of Ex
                                                          Interested
107 Public    9/28/18 3:53    Parte Meetings, Phone                     3757897-01       Memo
                                                            Parties
Document                      Calls & E-Mail
                              Instructions to Parties
                              Regarding the
                                                          Interested
              9/28/18 4:24    Treatment of                              3757943-01       Memo
                                                            Parties
108 Public                    Commerce
Document                      Information
109 Public    10/4/18 1:16    Supplement to the                         3759410-01
Document                      Administrative Record        Cámara                     Response



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110 Public                   Supplement to the                        3759448-01
Document     10/4/18 1:55    Administrative Record    CSC Sugar                    Response
111 Public   10/4/18 2:33    Supplement to the          Batory        3759496-01   Response
Document                     Administrative Record
112 Public   10/4/18 2:40    Supplement to the       Imperial Sugar   3759512-01   Response
Document                     Administrative Record

113 Public    10/4/18 3:11   Supplement to the           GOM          3759577-01   Response
Document                     Administrative Record

114 Public                   Supplement to the        Petitioners     3759679-01   Response
             10/4/18 4:05
Document                     Administrative Record
115 Public   10/4/18 4:09    Telephone Call w         CSC Sugar       3759683-01       Memo
Document                     Counsel
                             Additional
116 Public   10/4/18 4:25    Supplement to the        CSC Sugar       3759707-01   Response
Document                     Administrative Record
117 Public                   SUA CRA ILAG             SUA, CRA,                        Memo
             10/10/18 7:51                                            3761215-01
Document                     Supplement Cover           ILAG
                             SUA CRA ILAG
118 Public   10/10/18 7:51                            SUA, CRA,       3761215-02       Memo
                             Supplement
Document                                                ILAG

119 Public   10/10/18 8:08   USDA Supplement                          3761221-01       Memo
                                                        USDA
Document                     Cover Memo
                             USDA Supplement Ex
120 Public   10/10/18 8:08                              USDA          3761221-02       Memo
                             2 Pt 1
Document

121 Public   10/10/18 8:08   USDA Supplement Ex                       3761221-03       Memo
                                                        USDA
Document                     2 Pt 2
                                                       Interested
122 Public   10/10/18 9:15   Commerce                    Parties      3761255-01       Memo
Document                     Supplement Cover

123 Public   10/10/18 9:15   Commerce                  Interested     3761255-02       Memo
Document                     Supplement Part 1           Parties

124 Public   10/10/18 9:15   Commerce                  Interested     3761255-03       Memo
Document                     Supplement Part 2           Parties

125 Public   10/10/18 9:15   Commerce                  Interested     3761255-04       Memo
Document                     Supplement Part 3           Parties
                                                       Interested
126 Public   10/10/18 9:15   Commerce                    Parties      3761255-05       Memo
Document                     Supplement Part 4




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                                                  Interested
127 Public   10/10/18 9:17    Commerce              Parties    3761260-01        Memo
Document                      Supplement Part 5

128 Public   10/11/18 12:22                         USTR       3761410-01        Memo
Document                      USTR Supplement




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